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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


FLORIDA DECIDES HEALTHCARE,
INC., et al.,
                      Plaintiffs,

       v.                                         No. 4:25-cv-211-MW-MAF

CORD BYRD, in his official capacity as
Florida Secretary of State, et al.,
                                    Defendants,

REPUBLICAN PARTY OF FLORIDA,
          Proposed Intervenor-Defendant.


                            MOTION TO INTERVENE
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      The Republican Party of Florida (“RPOF”) seeks to intervene as a defendant in
this case. Attached as Exhibit 1 is a memorandum of law that explains why RPOF is
entitled to intervention as of right under Federal Rule of Civil Procedure 24(a)(2) and
to permissive intervention under Rule 24(b). In addition, pursuant to Rule 24(c), RPOF
has attached proposed answers as Exhibits 2-5 to each of the four complaints filed in
this action. ECF Nos. 19, 54, 90, 116.
      For all those reasons, RPOF respectfully asks the Court to grant this motion.


Dated: May 27, 2025                       Respectfully submitted,

                                          /s/ Benjamin J. Gibson
                                          Benjamin J. Gibson (Fla. Bar No. 58661)
                                          Daniel E. Nordby (Fla. Bar No. 14588)
                                          Tara R. Price (Fla. Bar No. 98073)
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                                          Republican Party of Florida




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       CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(B)

       Counsel for RPOF conferred with counsel for Plaintiffs, Intervenor-Plaintiffs,

and Defendants who have appeared regarding this motion. Plaintiff Florida Decides

Healthcare, Inc., and Intervenor Plaintiffs Smart & Safe Florida and FloridaRightto-

CleanWater.org oppose the motion. Counsel for Plaintiff-Intervenors League of

Women Voters of Florida did not respond to counsel for RPOF’s email conferral seek-

ing their position on the motion, which was sent on Thursday, May 22, 2025, at 3:43

p.m.

       State Defendants Byrd and Uthmeier do not oppose RPOF’s intervention. The

Defendant Supervisors of Election who responded to counsel for RPOF’s email cor-

respondence, sent the afternoon of Thursday, May 22, 2025, either took no position

on the motion or do not oppose RPOF’s intervention. Counsel for the State Attorneys

did not respond to counsel for RPOF’s email conferral seeking their position on the

motion, which was sent on Thursday, May 22, 2025, at 4:06 p.m. The other Defendants

had not yet appeared when counsel for RPOF sent its email conferrals.

                                               /s/ Benjamin J. Gibson




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                         CERTIFICATE OF SERVICE
      I hereby certify that on May 27, 2025, I electronically filed this document with

the Clerk of the Court by using the CM/ECF system, which will serve all parties whose

counsel have entered appearances. Those parties who have not yet appeared will be

served via email.

                                               /s/ Benjamin J. Gibson




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